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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

NANCY ASARO and LORI                  :
DRING,                                :
                                      :
                   Plaintiffs,        :
                                      :
      v.                              :     NO. 3:25-CV-00197
                                      :
ROBERT J. CLAUSS,                     :     JUDGE SAPORITO
THEODORE E. MALAKIN, III,             :
JEFFREY BARONE,                       :
MARILEE BARONE, and                   :
GENEVIEVE GUTT SAYLOR,                :     ELECTRONICALLY FILED
                                      :
                   Defendants.        :

                          ENTRY OF APPEARANCE

      Kindly enter our appearance on behalf of Defendants Robert J. Clauss,

Theodore E. Malakin, III, Jeffrey Barone, Marilee Barone, and Genevieve Gutt

Saylor, in the above-referenced matter.

Date: March 18, 2025                  Respectfully submitted:

                                      /s/ Daniel T. Brier
                                      Daniel T. Brier (PA ID 53248)
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                                      Richard L. Armezzani (PA ID 322804)
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570-342-6100
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                         CERTIFICATE OF SERVICE

      I, Daniel T. Brier, hereby certify that a true and correct copy of the foregoing

Entry of Appearance was served upon the following counsel of record via the Court’s

ECF system on this 18th day of March 2025:

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                                              /s/ Daniel T. Brier
                                              Daniel T. Brier
